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·3· · 4/4/2021
      · · ·     "Scientific Proof" with Mike Lindell
      (3 parts)
·4
                          Pt. 2
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·7· https://app.criticalmention.com/app/#clip/view/5e93ce
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·1· · · · · · (00:00)
·2· · · · · · MIKE LINDELL:· Well, it's turned in.· Match
·3· the exact curve, the odds of that are impossible.
·4· · · · · · DR. DOUGLAS G. FRANK:· Oh, yes.
·5· · · · · · MIKE LINDELL:· I want everyone to look at this
·6· because this is going to come up.· That little jump and
·7· that little flip.· You know, the exact same pattern, all
·8· of a sudden every one, exact percentage gets turned in
·9· in votes, every age group.
10· · · · · · DR. DOUGLAS G. FRANK:· It's ridiculous.
11· · · · · · MIKE LINDELL:· Now, was that another flag?
12· · · · · · DR. DOUGLAS G. FRANK:· Yes.· If I just take
13· the black curve and multiply it by 86 percent, that
14· helps you to see those little bumps and wiggles are just
15· absolutely reproduced.· It's just the odds of that
16· happening in one county are ridiculously small.· But
17· guess what, they happen in every county.
18· · · · · · MIKE LINDELL:· Every county.· Did you do every
19· county in Ohio?
20· · · · · · DR. DOUGLAS G. FRANK:· All 88.
21· · · · · · MIKE LINDELL:· All 88 counties.· And they were
22· all the same pattern.
23· · · · · · DR. DOUGLAS G. FRANK:· And I'll show you that
24· pattern because it's even better than this.· I call it
25· the key.· So if you think of it, you can think of that


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·1· 86 percent number as the key that converts the
·2· registrations into the ballots, and so that's flag
·3· number two.· Flag number two that those are similar.
·4· Now, the thing is that we don't just have to use one
·5· number.· We could use a different proportion for every
·6· age, okay.
·7· · · · · · MIKE LINDELL:· Right, right, and they do that.
·8· · · · · · DR. DOUGLAS G. FRANK:· In other words, if you
·9· use a different proportion for every age, then you have
10· just a little more sophisticated key.· When I show you
11· that key, you're going to be surprised because that's
12· also some breadcrumbs as to the algorithm.· If I use
13· those proportions, then this is the ballots on top of
14· the registrations.
15· · · · · · MIKE LINDELL:· But you set those proportions
16· yourself to see if it was duplicated across the state?
17· · · · · · DR. DOUGLAS G. FRANK:· Yes.· And that's why it
18· doesn't quite agree here because actually I'm using one
19· set of proportions for the entire state.· I'm never
20· changing it.
21· · · · · · MIKE LINDELL:· You're not changing it?
22· · · · · · DR. DOUGLAS G. FRANK:· No.· You know, think of
23· it, it's 18 to a hundred, so that's 82 proportions.· You
24· put it in one time, never change it again.
25· · · · · · MIKE LINDELL:· So what you're saying is across


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·1· the state, every single 70-year-old across the state was
·2· exactly this percentage?
·3· · · · · · DR. DOUGLAS G. FRANK:· Yes.
·4· · · · · · MIKE LINDELL:· Exactly?
·5· · · · · · DR. DOUGLAS G. FRANK:· Every single county.
·6· · · · · · MIKE LINDELL:· Every single age group was
·7· exactly, like X percent of each age group voted?
·8· · · · · · DR. DOUGLAS G. FRANK:· Which of course is
·9· preposterous.· It's preposterous.· This is the shape of
10· that key.
11· · · · · · MIKE LINDELL:· Okay.
12· · · · · · DR. DOUGLAS G. FRANK:· This is the key that
13· converts registrations to ballots.· In other words, the
14· proportion of 20-year-olds or the proportion of
15· 30-year-olds or the proportion of 40, and you look at
16· that curve.
17· · · · · · MIKE LINDELL:· Right.
18· · · · · · DR. DOUGLAS G. FRANK:· That's a really smooth
19· curve.
20· · · · · · MIKE LINDELL:· Right.
21· · · · · · DR. DOUGLAS G. FRANK:· In fact, mathematicians
22· recognize this.· It's called a sixth order polynomial
23· the beautiful thing about a sixth order polynomial is
24· you only need six numbers, so now I don't need 82
25· numbers anymore.


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·1· · · · · · MIKE LINDELL:· Right.
·2· · · · · · DR. DOUGLAS G. FRANK:· I just need six numbers
·3· and a turn out number, which would be a seventh number.
·4· · · · · · MIKE LINDELL:· Right.
·5· · · · · · DR. DOUGLAS G. FRANK:· And I can predict every
·6· county in Ohio.
·7· · · · · · MIKE LINDELL:· Right.
·8· · · · · · DR. DOUGLAS G. FRANK:· Now six numbers --
·9· · · · · · MIKE LINDELL:· So what you're saying there,
10· Dr. Frank, they're saying that they set this in the
11· machine.
12· · · · · · DR. DOUGLAS G. FRANK:· Yes.
13· · · · · · MIKE LINDELL:· Or set this beforehand --
14· · · · · · DR. DOUGLAS G. FRANK:· Yes.
15· · · · · · MIKE LINDELL:· -- to see who was going to win
16· and set this algorithm?
17· · · · · · DR. DOUGLAS G. FRANK:· Yes.
18· · · · · · MIKE LINDELL:· Okay.· These are the algorithms
19· we've been telling you about.
20· · · · · · DR. DOUGLAS G. FRANK:· Yes.· So for example,
21· this is Stark County.
22· · · · · · MIKE LINDELL:· I want to show a few counties
23· because what you got here, you guys remember that little
24· flip.· Every county, these are the ballots of people
25· that voted.


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·1· · · · · · DR. DOUGLAS G. FRANK:· Right, the red curve.
·2· · · · · · MIKE LINDELL:· There's the registered.
·3· · · · · · DR. DOUGLAS G. FRANK:· Yep.
·4· · · · · · MIKE LINDELL:· And there's the population.
·5· · · · · · DR. DOUGLAS G. FRANK:· Yes.
·6· · · · · · MIKE LINDELL:· It doesn't follow that.· It's
·7· impossible to have that same glitch.
·8· · · · · · DR. DOUGLAS G. FRANK:· Every time.
·9· · · · · · MIKE LINDELL:· Every single county.· And so
10· far it's been every single county you've done in the
11· United States.
12· · · · · · DR. DOUGLAS G. FRANK:· So far.
13· · · · · · MIKE LINDELL:· The same thing, the same
14· machines, the same attacks, the same people.
15· · · · · · DR. DOUGLAS G. FRANK:· Yes.
16· · · · · · MIKE LINDELL:· The same corruption that went
17· on, the same crime against humanity was all across the
18· states.
19· · · · · · DR. DOUGLAS G. FRANK:· There's an interesting
20· thing.· I'm going to go back to this key for a second
21· because this key works for every county in Ohio.
22· · · · · · MIKE LINDELL:· Right.
23· · · · · · DR. DOUGLAS G. FRANK:· If you step across the
24· border into Pennsylvania, this key doesn't work anymore.
25· · · · · · MIKE LINDELL:· Really?


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·1· · · · · · DR. DOUGLAS G. FRANK:· You change it just a
·2· little bit.· Now that new key works in every county in
·3· Pennsylvania.· So in other words, it proves that the
·4· algorithm works at the county level and at the state
·5· level.
·6· · · · · · MIKE LINDELL:· And maybe even at the federal
·7· level.
·8· · · · · · DR. DOUGLAS G. FRANK:· Well, the federal level
·9· is how you decide the outcome of the election.
10· · · · · · MIKE LINDELL:· Right, right.
11· · · · · · DR. DOUGLAS G. FRANK:· So you choose the key
12· you want for each state.
13· · · · · · MIKE LINDELL:· So you can even do this for
14· down tickets.
15· · · · · · DR. DOUGLAS G. FRANK:· Oh, absolutely,
16· absolutely.
17· · · · · · MIKE LINDELL:· And does everybody hear that?
18· All the down tickets were affected too.
19· · · · · · DR. DOUGLAS G. FRANK:· So here's Ohio.· So
20· populations, registrations, and the red curve is the
21· ballots.· That shaded curve underneath, that's what I'm
22· predicting based upon the key.
23· · · · · · MIKE LINDELL:· Oh, wow.· So you already said
24· here, without looking, you're going here's what it's
25· going to be, and it matched.


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·1· · · · · · DR. DOUGLAS G. FRANK:· And you know how I did
·2· that?· I ran 14 counties, took the average key, and then
·3· never changed it again, and it works in all 88.
·4· · · · · · MIKE LINDELL:· All 88 counties.
·5· · · · · · DR. DOUGLAS G. FRANK:· By the way, there's
·6· this R number.· R is a correlation coefficient it's
·7· called.· If R equals one, it's a perfect correlation.
·8· If it's is a negative one it's a perfect opposite
·9· correlation.· If R is zero, that means it's not
10· correlated at all.
11· · · · · · MIKE LINDELL:· Right.
12· · · · · · DR. DOUGLAS G. FRANK:· So for me to get 1.000
13· and I'm a physicist, that ain't natural, buddy.
14· · · · · · MIKE LINDELL:· So it couldn't be done by
15· humans.
16· · · · · · DR. DOUGLAS G. FRANK:· No, no, no.
17· · · · · · MIKE LINDELL:· It's a hundred percent
18· impossible.
19· · · · · · DR. DOUGLAS G. FRANK:· No, no.
20· · · · · · MIKE LINDELL:· Had to be machines?
21· · · · · · DR. DOUGLAS G. FRANK:· Yes.
22· · · · · · MIKE LINDELL:· And they had to be online.
23· · · · · · DR. DOUGLAS G. FRANK:· Constantly online.
24· · · · · · MIKE LINDELL:· Constantly online, everybody.
25· · · · · · DR. DOUGLAS G. FRANK:· Beforehand getting the


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·1· registrations in place so you can use the phantom
·2· ballots.
·3· · · · · · MIKE LINDELL:· Right.
·4· · · · · · DR. DOUGLAS G. FRANK:· Because if you think
·5· about it, you can have all if machines in the world
·6· changes ballots all you want.· The problem is that
·7· afterwards if they count the ballots, it's got to match.
·8· · · · · · MIKE LINDELL:· It's got to match.
·9· · · · · · DR. DOUGLAS G. FRANK:· So you have to figure
10· out how you --
11· · · · · · MIKE LINDELL:· So were you surprised -- I want
12· everyone to understand this.· So you're seeing this.
13· Were you thinking how did they do this.· Did they have
14· to have some super computer.· Did that go through your
15· mind?
16· · · · · · DR. DOUGLAS G. FRANK:· Oh, are you kidding.
17· Yes, absolutely.
18· · · · · · MIKE LINDELL:· So now, I want everyone to know
19· this, when you watched Absolute Proof, okay, and you had
20· worked on this for months.
21· · · · · · DR. DOUGLAS G. FRANK:· Months.
22· · · · · · MIKE LINDELL:· And you had seen this, okay,
23· and you seen that last fourth of Absolute Proof, you
24· knew that there was such a device out there.
25· · · · · · DR. DOUGLAS G. FRANK:· I was on the edge of my


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·1· seat.· I was going oh, my gosh.· I see that column.               I
·2· know exactly -- I know what they are doing at each of
·3· those steps.
·4· · · · · · MIKE LINDELL:· Right, right, right.
·5· · · · · · DR. DOUGLAS G. FRANK:· But until that point --
·6· · · · · · MIKE LINDELL:· You're going how could they
·7· have come up with this super computer, whatever this is.
·8· · · · · · DR. DOUGLAS G. FRANK:· By logic you can deduce
·9· things.
10· · · · · · MIKE LINDELL:· You knew it happened, but you
11· didn't know, wow, what did they have, a super computer
12· the size of Iowa, you know, but they do it and it does
13· exist and it's out there.
14· · · · · · DR. DOUGLAS G. FRANK:· Yes.
15· · · · · · MIKE LINDELL:· And we have, by the grace of
16· God, we have people that were using that, at least
17· watching them use that the night of the election and the
18· five days from the 1st to the 5th?
19· · · · · · DR. DOUGLAS G. FRANK:· Yeah.
20· · · · · · MIKE LINDELL:· And so we have every cyber
21· footprint, every flip, every computer, every ID.· We
22· have all that because it takes a lot of technology to be
23· able to pull this off.
24· · · · · · DR. DOUGLAS G. FRANK:· A lot, yes.· It's like
25· you have to have a whole bunch of computers, always


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·1· online, always interacting and stuff.· I just want you
·2· to see that it's not an accident.
·3· · · · · · MIKE LINDELL:· Yeah.· Let's goes to a couple
·4· different counties.
·5· · · · · · DR. DOUGLAS G. FRANK:· Here's Ashland, Butler,
·6· Clinton.
·7· · · · · · MIKE LINDELL:· So if everybody's watching
·8· here, you remember them two glitches.
·9· · · · · · DR. DOUGLAS G. FRANK:· Yes.
10· · · · · · MIKE LINDELL:· They're all following these
11· same patterns.
12· · · · · · DR. DOUGLAS G. FRANK:· Over and over again.
13· · · · · · MIKE LINDELL:· Over and over and over and over
14· again.· And R is your 9999.· It's the same algorithm.
15· · · · · · DR. DOUGLAS G. FRANK:· It's too good.· That's
16· not natural.
17· · · · · · MIKE LINDELL:· It's unnatural.
18· · · · · · DR. DOUGLAS G. FRANK:· You notice that they're
19· being careful to keep the black curve under the blue
20· curve.
21· · · · · · MIKE LINDELL:· Right.· The black is the
22· registered and the population.
23· · · · · · DR. DOUGLAS G. FRANK:· Yes.
24· · · · · · MIKE LINDELL:· You went a little bit by it.
25· · · · · · DR. DOUGLAS G. FRANK:· Think about it.· If it


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·1· goes by it, then you're going to have dead voters and
·2· you're going to have --
·3· · · · · · MIKE LINDELL:· Right there it went by.
·4· · · · · · DR. DOUGLAS G. FRANK:· Exactly, so you're
·5· going to get caught later.
·6· · · · · · MIKE LINDELL:· You don't want to get caught,
·7· so you want to try and keep it under the blue line.
·8· · · · · · DR. DOUGLAS G. FRANK:· So you keep the black
·9· curve under, and the red curve is always --
10· · · · · · MIKE LINDELL:· And then it went over.
11· · · · · · DR. DOUGLAS G. FRANK:· Yeah, exactly.
12· · · · · · MIKE LINDELL:· It's like coloring and you
13· don't want to go outside the lines.
14· · · · · · DR. DOUGLAS G. FRANK:· Perfectly stated.
15· · · · · · MIKE LINDELL:· Right, right, right.· Colorado,
16· explain.· Here's population --
17· · · · · · DR. DOUGLAS G. FRANK:· The blue line.
18· · · · · · MIKE LINDELL:· This means even more people
19· voted than live there.
20· · · · · · DR. DOUGLAS G. FRANK:· Yes.
21· · · · · · MIKE LINDELL:· And way more people registered,
22· thousands more registered.· How do you explain that?
23· Look at this, look at that.· What's going on here?
24· · · · · · DR. DOUGLAS G. FRANK:· There are more
25· registrations than people.· Well, what normally happens


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·1· is people move out of an area, people die.
·2· · · · · · MIKE LINDELL:· Right.
·3· · · · · · DR. DOUGLAS G. FRANK:· And you're supposed to
·4· take those people off the registration rolls, and so
·5· most registration rolls shrink by about one percent per
·6· month I've noticed.· If you don't do that, if you don't
·7· clean up the registration rolls, then over the years you
·8· can build up a nice credit line of phantom voters to
·9· draw upon.
10· · · · · · MIKE LINDELL:· More people voted than live in
11· the county.
12· · · · · · DR. DOUGLAS G. FRANK:· These are all the
13· county names, and this is this eligible population to
14· vote, and this is not me making this up.
15· · · · · · MIKE LINDELL:· What year is this?
16· · · · · · DR. DOUGLAS G. FRANK:· This is 2020.
17· · · · · · MIKE LINDELL:· 2020.
18· · · · · · DR. DOUGLAS G. FRANK:· And this is what
19· percent of the population is registered.
20· · · · · · MIKE LINDELL:· Really?· A 150 percent.
21· · · · · · DR. DOUGLAS G. FRANK:· Yes.
22· · · · · · MIKE LINDELL:· I mean --
23· · · · · · DR. DOUGLAS G. FRANK:· And there are 64
24· counties in Colorado, and you'll notice the first 20
25· some of them, there's more people registered.


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·1· · · · · · MIKE LINDELL:· I want to know -- okay.· So
·2· after looking at all this data and all this research
·3· that you did.
·4· · · · · · DR. DOUGLAS G. FRANK:· Yes.
·5· · · · · · MIKE LINDELL:· If they based it on the 2020
·6· population, you wouldn't have had this.· But they had to
·7· have based it on something else, right?
·8· · · · · · DR. DOUGLAS G. FRANK:· The shape I think they
·9· have.· I think they based the shape, but they shifted
10· the shape.
11· · · · · · MIKE LINDELL:· Right.
12· · · · · · DR. DOUGLAS G. FRANK:· I think they started
13· from the 2010 census.
14· · · · · · MIKE LINDELL:· The 2010 census.· That one
15· you're not a hundred percent sure.· But if it matches
16· that, then --
17· · · · · · DR. DOUGLAS G. FRANK:· Well, I'm going to
18· stake my reputation on it because of these two
19· interesting little bumps over here.
20· · · · · · MIKE LINDELL:· So tell us about the bumps.
21· · · · · · DR. DOUGLAS G. FRANK:· So this was the first
22· district I ever looked at.· District four, it's mostly
23· Montgomery County in Pennsylvania and everybody knows
24· it's corrupt and I was asked to look at the data.· So
25· this is the population and you notice that --


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·1· · · · · · MIKE LINDELL:· You mean there's a corrupt
·2· county in our country?· What?
·3· · · · · · DR. DOUGLAS G. FRANK:· So this is everybody,
·4· and of course everybody can't vote.
·5· · · · · · MIKE LINDELL:· Right.
·6· · · · · · DR. DOUGLAS G. FRANK:· You've got to get rid
·7· of --
·8· · · · · · (End of excerpt at 9:53.)
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·2· · · · · · · · · ·CERTIFICATE OF REPORTER

·3

·4· · · · · · I, Charlotte Crandall, certify that I was

·5· authorized to and did transcribe the foregoing audio

·6· recorded proceedings and that the transcript is a

·7· true and complete record of my stenographic notes

·8· from an audio recording and was transcribed to the

·9· best of my ability.

10

11· · · · · · Dated this 18th day of June, 2021.

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17· · · · · · · · · · · ________________________________
· · · · · · · · · · · · Charlotte Crandall
18· · · · · · · · · · · Registered Professional Reporter

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